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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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 "'~G... ~~~ l~t "l~ Vt.\\o~ hJ~~u
      (In the space above enter the ji,11 name(s) of the plaintiff(s).)


                              - against -

                                                                                     COMPLAINT
                                                                                 Jury Trial:OOYes    •      No

                                                                                              (check one)




(In the space above enter the ji,I! name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write "see attached" in the space above and attach an
additional sheet ofpaper with the ji11! /ist ofnames. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach
            additional sheets of paper as necessary.


Plaintiff            Name
                     Street Address
                     County, City
                     State & Zip Code
                     Telephone Number
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       8.       List all defendants. You should state the full name of the defendants, even if that defendant is a government
                agency, an organization, a corporation, or an individual. Include the address where each defendant can be
                served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
                Attach additional sheets of paper as necessary.

,,·   DefendantNo. 1                           Name    \'ifo"tUS'\¼\u - LoE:t,hs \ol'.M-
                                               Street Address \'\Jhl\~l\'iRSl· \\t,. ~'u'1' ~\A
                                               County, City \'\Yt,\t\·; 1{~.l\\c:,t\

                                               State & Zip Code _,l\\'-=--l___,,.Q'-~-=-J.'-
                                                                                         ...~ - - - - - - - - - - - - - -
                                                                    p~lll\,i .              .
      Defendant No. 2                          Name     j ()hl ~ - f:\:or'.\\d:s\s~\or
                                               Street Address 2\S 8,itV1Jc,,o Un' ~;Ah
                                               County, City Cudwlrwo, Ennyh,n
                                               State & Zip Code _,Nµ,.,i.l...,,{J,IJ,l...!.10.,,_2...,=-------------


      Defendant No. 3                          Name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               _County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      Defendant No. 4                          Name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                               Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




      II.      Basis for Jurisdiction:

      Federal courts are courts of limited jurisdiction. There are four types of cases that can be heard in federal court: l)
      Federal Question - Under 28 U.S.C. § 133 l, a case involving the United States Constitution or federal laws or treaties
      is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. § 1332, a case in which a citizen of one
      state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;
      3) U.S. Government Plaintiff; and 4) U.S. Government Defendant.

      A.
                                                      •
               What is the basis for federal court jurisdiction? (check all that apply)
              1¼1Federal Questions                        Diversity of Citizenship

              ou.s.      Government Plaintiff         •   U.S. Government Defendant


      8.

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               ft\)...
                       1
               If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at



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                  C.           If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                               Plaintiff(s) state(s) of citizenship _NL..>~O\J.J\Hli\c+---------------------

                               Defendant(s) state(s) of citizenship               --LN,,,..~-Ht&f-4--------------------
                  111.         Statement of Claim:

                  State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
                  complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
                  include further details such as the names of other persons involved in the events giving rise to your claims. Do not
"\
                  cite any cases or statutes. If you intend to allege a number ofrelated claims, number and set forth each claim in a
                  separate paragraph. Attach additional sheets of paper as necessary.

                  A.~I Wh~re did the events giving rise to your claim(s) occur?                                   sl)~'1-JC4{\)           ~\l\k \>r\~\Th) -            Br,nS4au
                  (~) ~ \Jh<\~~Rn-                                    An1\\t'(\ (.\\tr\~)                            ·
                  B.           What date and approximate time did the events giving rise to your claim(s) occur?                                        5 (\ \1.O           fll1.
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        What
                  C.
      happened
       to you?




      Who did
       what?




       anyone
         else
      involved?




     Who else
     saw what

     happened?    _L\,~J::.:~.:t:~!......!l-!.:UJL.!L.llll!!~.:....1~~L..L~:!!.Uli!\U....\-!-~J.+-=----1!...J..,!....:..=:..L.:!!..:'----'~~,!,--1-=----'1-..1<.+..L.£!!~----'--,P-D"'--'JW
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IV.         Injuries:


If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,
                   Iv
you required and received.  h\l\t.\W) out ~ b\\w ~~\nm.t\"1 'II\ \u1U '.i\{\U.....
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V.          Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and




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I declare under penalty of perjury that the foregoing is true and correct.


          ,flil\            "
Signed thisJL__day of._ _,,,,.Jo-c\l=f\.~~~----------~· 20ZL.




                                            Signature of P l a i n t i f f ~ - - - .
                                            MailingAddress      A\S       Bu~i~¼nJ L, :S()Jh
                                                                Bt\n~ *frl\ 1 hl J ()'i(j()2,_

                                            Telephone Number     ~S'J t.t,8 •L003
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                                            E-mail Address     Y\:k$1•U:11'i, S ~ ,NM


Note:   All plaintiffs named in the caption of the complaint must date and sign the complaint.




                                                Signature of Plaintiff:
                                                  jq




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